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                                 Exhibit 9



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                                              Page 1
                             UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF MASSACHUSETTS

         -----------------------------------X

         In Re: PHARMACEUTICAL INDUSTRY                    )

         AVERAGE WHOLESALE PRICE LITIGATION )

         -----------------------------------X MDL No. 1456

         THIS DOCUMENT RELATES TO:                         ) Master File No.

         United States of America ex rel.                  ) 01-CV-12257-PBS

         Ven-A-Care of the Florida Keys,                   )

         Inc., et al. v. Dey, Inc., et al., )

         Civil Action No. 05-11084-PBS,                    ) Hon. Patti B.

         and United States of America ex                   ) Saris

         rel. Ven-A-Care of the Florida                    )

         Keys, Inc., et al. v. Boehringer                  )

         Ingelheim Corp., et al., Civil                    )

         Action No. 07-10248-PBS                           )

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         VIDEOTAPED DEPOSITION OF THE NORTH DAKOTA DEPARTMENT

         OF HUMAN SERVICES-MEDICAID DIVISION by BRENDAN JOYCE

                DATE:                  Friday, December 12, 2008

                PLACE:                 Bismarck, North Dakota

                REPORTED BY:           Deanna L. Sager, R.P.R.




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                                                                                             Page 2
    1
                                                A P P E A R A N C E S
    2

    3
             FOR VEN-A-CARE OF THE FLORIDA KEYS, INC.:
    4

    5
                              Berger & Montague, P.C.
    6
                              1622 Locust Street
    7
                              Philadelphia, Pennsylvania                    19103
    8
                              By:         Susan Schneider Thomas, Esq.
    9

 10
             FOR DEY, INC.; DEY, LP, INC.; DEY, LP:
 11

 12
                              Kelley Drye & Warren, LLP
 13
                              101 Park Avenue
 14
                              New York, New York                   10178
 15
                              By:         Michael J. Maloney, Esq.
 16

 17
             FOR ABBOTT LABORATORIES, INC.:
 18

 19
                              Jones Day
 20
                              77 West Wacker Drive, Suite 3500
 21
                              Chicago, Illinois                   60601
 22
                              By:         Carol P. Geisler, Esq.             (By telephone)

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    1
             paying the same as the primary payer in the state
    2
             that accounts for about 80 percent of the
    3
             payments, we said that they could not complain if
    4
             they already accepted through them.                               And Blue
    5
             Cross Blue Shield had 100 percent participation
    6
             as well.               Therefore, we did not anticipate it to
    7
             change anything.
    8
                        Q.          And participation was something that
    9
             North Dakota Medicaid considered in making this
 10
             change to reimbursement?
 11
                                    MS. THOMAS:                 Objection.   Form.
 12
                        A.          Not necessarily.                 Or not explicitly.
 13
                        Q.          What do you mean by that?
 14
                        A.          We implemented the MAC pricing to get
 15
             more in line with actual acquisition costs and
 16
             address the inflated AWPs.                              And we knew that the
 17
             pharmacies must have known about the differences
 18
             in the increased reimbursement that they were
 19
             receiving.                 And as far as a concern that someone
 20
             could bring up saying are you worried about
 21
             participation and pharmacies dropping out, we
 22
             simply had the argument ready, if necessary,

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                                                                                         Page 121
    1
             saying that they're going to get paid the same as
    2
             they're getting paid in the private sector which
    3
             they already accept 100 percent.                              Therefore, they
    4
             will have no basis of complaining with Medicaid
    5
             reimbursement doing the same.
    6
                                    MR. MALONEY:                I'd like to mark this as
    7
             Dey 713.
    8
                                               (Whereupon, Exhibit Dey 713 was
    9
             marked for identification by the court reporter.)
 10
                        Q.          (Mr. Maloney continuing)                 Take a minute
 11
             to look at this document.                             Let me know when
 12
             you're ready.
 13
                        A.          I'm ready.
 14
                        Q.          Do you recognize this document?
 15
                        A.          Yes.
 16
                        Q.          This is a memo authored by you
 17
             addressed to pharmacies participating in the
 18
             North Dakota Medicaid Program, correct?
 19
                        A.          Correct.
 20
                        Q.          And it's dated July 12, 2002?
 21
                        A.          Yes.
 22
                        Q.          And this memo discusses the

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                                                                                         Page 270
    1
             where the AWPs would actually be different among
    2
             that range.                   So the higher one would actually
    3
             have a lower or higher AWP and the lower count
    4
             bottle would have a different AWP.                              There was no
    5
             consistencies.
    6
                        Q.          Did those pricing practices by the drug
    7
             manufacturers make it more difficult for the
    8
             Medicaid department to assess whether it was
    9
             appropriately estimating provider acquisition
 10
             costs?
 11
                                    MR. MALONEY:                Objection to form.
 12
                        A.          Yes.
 13
                        Q.          At the time when you recommended to the
 14
             North Dakota Medicaid department that it
 15
             institute a MAC program, was it your observation
 16
             that AWPs for generic drugs were often random by
 17
             which I mean not a set or knowable percentage
 18
             differential from actual acquisition prices?
 19
                                    MR. MALONEY:                Objection to form.
 20
                        A.          The difficulty we had, the other option
 21
             besides MAC is to set AWP minus, you know, the
 22
             reference price minus percent.                             And the reports

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                                                                                         Page 271
    1
             would show minus 40 percent for the average, but
    2
             that's just the average.                             Therefore, we couldn't
    3
             use it specifically because of exactly what you
    4
             say, it was random from product to product,
    5
             manufacturer to manufacturer.                             Since it was so
    6
             random we couldn't use the AWP in the calculation
    7
             of the price.                     We had to use MAC.
    8
                        Q.          Did you find at least for some
    9
             manufacturers that the AWPs were random even
 10
             within a given manufacturer?
 11
                                    MR. MALONEY:                Objection to form.
 12
                        A.          I believe so.                One of their products
 13
             could have a fair relationship to actual
 14
             acquisition and another product within their
 15
             package of products would have a different one,
 16
             different relationship.
 17
                        Q.          Did --
 18
                        A.          Or no relationship.
 19
                        Q.          Did you sometimes find that with
 20
             respect to different NDC numbers of the same drug
 21
             type?
 22
                                    MR. MALONEY:                Objection to form.

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                                                                                           Page 273
    1
                                    MR. MALONEY:                  Objection to form.
    2
                        A.          No.
    3
                        Q.          Did you ever hear anyone at North
    4
             Dakota Medicaid inform manufacturers that random,
    5
             unknown, and large spreads were beneficial to the
    6
             department in any fashion?
    7
                                    MR. MALONEY:                  Objection to form.
    8
                        A.          No.
    9
                        Q.          Are you aware of any North Dakota
 10
             Medicaid policy that suggests that random,
 11
             unknown, and large spreads are beneficial to the
 12
             department?
 13
                                    MR. MALONEY:                  Objection to form.
 14
                        A.          No.
 15
                        Q.          Various manufacturers in the pricing
 16
             litigation that is going on around the country
 17
             have argued that government entities embraced the
 18
             spreads that were created by the reported AWPs
 19
             because those spreads served policy goals of the
 20
             government programs.                               Do you have any reaction to
 21
             that statement?
 22
                                    MR. MALONEY:                  Objection to form.

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                                                                                         Page 274
    1
                        A.          That would not apply to North Dakota.
    2
                        Q.          Why is that?
    3
                        A.          We had no such policy goal to where the
    4
             lack of specificity of AWP or nonrelationship to
    5
             the acquisition cost benefited us.
    6
                        Q.          Would you have always considered it
    7
             within the Medicaid department's role to decide
    8
             what profit, if any, to build into provider
    9
             reimbursement?
 10
                        A.          Yes.
 11
                        Q.          To your knowledge, did the North Dakota
 12
             Medicaid department ever delegate that authority
 13
             to drug manufacturers?
 14
                                    MR. MALONEY:                Objection to form.
 15
                        A.          No.
 16
                        Q.          Did you always consider it the state's
 17
             role to decide whether and how much of a cushion
 18
             it wanted to build in between reimbursements
 19
             amount -- between reimbursement amounts and
 20
             average acquisition costs?
 21
                                    MR. MALONEY:                Objection to form.
 22
                        A.          Yes.

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    1
             have no reason to object, correct?
    2
                                    MS. THOMAS:                 Objection.   Form.
    3
                        A.          As discussed earlier, I think that's
    4
             what I said.
    5
                        Q.          Could you please take a look at Dey
    6
             Exhibit 711, the state plan exhibit?
    7
                        A.          Okay.
    8
                        Q.          And Ms. Thomas asked you several
    9
             questions about the sentence in this -- in --
 10
             under item 13 on these state plan versions that
 11
             states, "Estimated acquisition cost will be this
 12
             agency's best estimate of the price generally and
 13
             currently paid by providers for a drug marketed
 14
             or sold by a particular manufacturer or labeler."
 15
             Do you remember that discussion?
 16
                        A.          Yes.
 17
                        Q.          And I believe you testified that that
 18
             language has been consistent in North Dakota's
 19
             state plan throughout the various changes to the
 20
             state plan.                   Is that accurate?
 21
                        A.          Yes.
 22
                        Q.          Now when North Dakota Medicaid

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    1
             considered the amounts that Blue Cross Blue
    2
             Shield of North Dakota paid to providers for
    3
             prescription drugs, it wasn't considering the
    4
             price generally and currently paid by providers
    5
             for a drug marketed or sold by a particular
    6
             manufacturer, was it?
    7
                                    MS. THOMAS:                 Objection.   Form.
    8
                        A.          We would have to assume that a private
    9
             company that has such market share would be
 10
             paying on their definition of estimated
 11
             acquisition cost appropriately.
 12
                        Q.          But actually when you consider the
 13
             amount Blue Cross Blue Shield of North Dakota is
 14
             paying pharmacies for prescription drugs, North
 15
             Dakota Medicaid was actually considering the
 16
             price generally and currently paid to providers
 17
             for a drug marketed or sold by a particular
 18
             manufacturer or labeler, correct?
 19
                                    MS. THOMAS:                 Objection.   Form.
 20
                        A.          No.        As we would have to assume that
 21
             Blue Cross Blue Shield would be paying
 22
             appropriate estimated acquisition costs.

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    1
             Therefore, if one is doing it, they're estimating
    2
             the acquisition cost to be that for the prices
    3
             paid by the providers, then that same logic would
    4
             then cross over to Medicaid if we used the same
    5
             rates as paid by providers.
    6
                        Q.          But you have no recollection of North
    7
             Dakota Medicaid actually surveying the prices
    8
             generally and currently paid by providers for a
    9
             drug marketed or sold by a particular
 10
             manufacturer or labeler?
 11
                        A.          No.        As discussed earlier, no, we have
 12
             not done that.
 13
                        Q.          And other than the -- okay.                    I think
 14
             that's it for that.                                Now you mentioned that North
 15
             Dakota Medicaid receives URAs, correct?
 16
                        A.          Yes.
 17
                        Q.          And what does URA stand for?
 18
                        A.          Unit rebate amount.
 19
                        Q.          And North Dakota Medicaid receives URAs
 20
             from CMS, correct?
 21
                        A.          Correct.
 22
                        Q.          And CMS calculates URAs based on AMPs

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